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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


                                             )
 UNITED STATES OF AMERICA                    )
                                             )
 v.                                          )   Criminal No.: 3:23-cr-00011-NKM-JCH-1
                                             )
 SCOTT HOWARD JENKINS,                       )
                                             )
               Defendant.                    )
                                             )


                         MOTION TO WITHDRAW AS COUNSEL

        Undersigned Counsel hereby enters moves to withdraw as counsel of record for

 Defendant Scott Howard Jenkins in the above-entitled action. Counsel previously entered a

 limited appearance for the arraignment hearing (#34), which has occurred. Defendant Scott

 Howard Jenkins has retained new Counsel for the above-entitled action in this Court.

 Date: June 28, 2024                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of June 2024, I caused a copy of the foregoing to be

 served on all counsel of record via the Court’s CM/ECF system.

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